BOYNTON GASOLINE CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Boynton Gasoline Co. v. CommissionerDocket Nos. 18239, 19252.United States Board of Tax Appeals10 B.T.A. 19; 1928 BTA LEXIS 4216; January 19, 1928, Promulgated *4216  Petitioner is entitled to an annual deduction from gross income for exhaustion of casing-head gas contracts owned by it.  Boynton Gasoline Co. v. Commissioner,6 B.T.A. 434"&gt;6 B.T.A. 434. Charles H. Garnett, Esq., for the petitioner.  Granville S. Borden, Esq., for the respondent.  MILLIKEN *20  These proceedings result from the determination by respondent of deficiencies in income taxes for the calendar years 1921 and 1922 in the respective amounts of $518.93 and $588.54.  The only question involved for both years is whether or not the petitioner in computing its net income for each of the years 1921 and 1922, is entitled to a deduction as an allowance for the exhaustion of certain contracts.  The proceedings for both years were consolidated for hearing and decision.  At the hearing of this cause, counsel for the respective parties filed a stipulation which is embodied in our findings of fact.  FINDINGS OF FACT.  The question in both proceedings is the same as presented in and decided by the Board in the case of *4217 , and the facts in the instant proceedings are identical with the facts in the above cases decided by the Board, except as to the amount of production of gas under said contracts for the year now under consideration.  It is agreed that the fair market value of the casing-head gas contracts in question at the time acquired by petitioner, was $100,000 and that the gas reserves in the properties covered by said contracts were at that time 400,000 M cubic feet.  In the year 1921, the production of gas under the contracts in question was 25,211 M cubic feet.  In 1922, the production of gas under said contracts was 20,940 M cubic feet.  There was no change in the original value in lieu of cost or sum evidenced by these contracts, nor in the original reserves of gas at any time herein mentioned, and said original sum was not exhausted or returned to the petitioner through exhaustion or depletion allowances for previous years, plus those stated above to have been sustained in the years 1921 and 1922, but at the close of the year 1922, there still remained $9,916.25 of said original sum of $100,000 unreturned through*4218  such allowances.  OPINION.  MILLIKEN: In , we passed upon the identical question here presented and upon authority of the same, petitioner is entitled, in computing its net income for the years 1921 and 1922, to a deduction for the exhaustion of the contracts in question.  Judgment will be entered on 15 days' notice, under Rule 50.